    Case 1:25-cv-00117-SWS      Document 89    Filed 07/03/25   Page 1 of 25




                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF WYOMING

EQUALITY STATE POLICY CENTER,
                                               Case No. 25-cv-00117-SWS
                  Plaintiff,
      v.
CHUCK GRAY, in his official capacity as
Wyoming Secretary of State, et al.,
                  Defendants.



   BRIEF OF AMICI CURIAE THE ARIZONA STATE LEGISLATURE,
            STATE OF MONTANA, STATE OF KANSAS,
                  22 OTHER STATES, & GUAM

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        Case 1:25-cv-00117-SWS                    Document 89             Filed 07/03/25           Page 2 of 25




                                           TABLE OF CONTENTS

TABLE OF AUTHORITIES ............................................................................................. ii
INTRODUCTION ...........................................................................................................1
INTERESTS OF THE AMICI STATES ...............................................................................4
ARGUMENT .................................................................................................................6
I. There is no evidence that H.B. 156 substantially burdens any discrete class of
    eligible voters. ....................................................................................................... 6
II. H.B. 156 advances vital state interest in preventing unlawful voting and fortifying
    public confidence in elections. ........................................................................... 13
CONCLUSION .............................................................................................................16
ADDITIONAL SIGNATORIES........................................................................................18
CERTIFICATE OF COMPLIANCE ..................................................................................19
CERTIFICATE OF SERVICE ..........................................................................................19




                                                               i
        Case 1:25-cv-00117-SWS                  Document 89            Filed 07/03/25          Page 3 of 25




                                       TABLE OF AUTHORITIES

Cases

Abbott v. Perez,
   585 U.S. 579, 602 (2018) ......................................................................................... 5
Am. Civil Liberties Union of N.M. v. Santillanes,
   546 F.3d 1313 (10th Cir. 2008)................................................................ 7, 9, 10, 14
Arizona v. Inter Tribal Council of Ariz., Inc.,
   570 U.S. 1 (2013) ................................................................................................... 10
Brakebill v. Jaeger,
  932 F.3d 671, 679-80 (8th Cir. 2019) ....................................................................... 7
Brnovich v. Democratic Nat’l Comm.,
  594 U.S. 647, 686 (2021) .......................................................................... 4, 6, 12, 14
Burdick v. Takushi,
  504 U.S. 428, 433 (1992) ...................................................................................... 4, 5
Common Cause/Georgia v. Billups,
  554 F.3d 1340 (11th Cir. 2009)................................................................................. 9
Crawford v. Marion Cnty. Election Bd.,
  553 U.S. 181, 198 (2006) .............................................................. 6, 8, 10, 13, 15, 16
Dudum v. Arntz,
  640 F.3d 1098, 1114 (9th Cir. 2011)........................................................................ 15
Election Integrity Project Cal., Inc. v. Weber,
  113 F.4th 1072, 1091 (9th Cir. 2024) ....................................................................... 5
Fish v. Schwab,
  957 F.3d 1105, 1130 (10th Cir. 2020) .......................................................... 2, 5, 8, 9
Frank v. Walker,
  768 F.3d 744, 748 (7th Cir. 2014)............................................................................. 7
Greater Birmingham Ministries v. Sec’y of State for the State of Ala.,
  992 F.3d 1299, 1334 (11th Cir. 2021)...................................................................... 14
Gonzalez v. Arizona,
  2006 WL 8431038 at *7 (D. Ariz. Oct. 12, 2006) .............................................. 3, 11
Ind. Democratic Party v. Rokita,
  458 F. Supp. 2d 775, 822-23 (S.D. Ind. 2006) ........................................................ 10
Lee v. Va. State Bd. of Elections,
  843 F.3d 592, 606-07 (4th Cir. 2016) ....................................................................... 7
Luft v. Evers,
   963 F.3d 665 (7th Cir. 2020).................................................................................... 7
Mi Familia Vota v. Fontes,
   129 F.4th 691 (9th Cir. 2025) ................................................................................ 10
                                                            ii
        Case 1:25-cv-00117-SWS                  Document 89            Filed 07/03/25          Page 4 of 25




Mi Familia Vota v. Fontes,
  719 F. Supp. 3d 929, 1008, 1011 (D. Ariz. 2024) ............................................. 3, 12
One Wisconsin Inst., Inc. v. Thomsen,
  198 F. Supp. 3d 896, 936 (W.D. Wis. 2016) ........................................................... 7
Thompson v. DeWine,
  959 F.3d 804, 812 (6th Cir. 2020)............................................................................ 4
Timmons v. Twin Cities Area New Party,
  520 U.S. 351, 364 (1997) ....................................................................................... 16
Vote.Org v. Callanen,
  89 F.4th 459, 489 (5th Cir. 2023) ............................................................................. 5
Wash. State Grange v. Wash. State Republican Party,
  552 U.S. 442, 451 (2008) .......................................................................................... 4

Statutes

52 U.S.C. § 20501 ........................................................................................................ 3
Ariz. Rev. Stat. § 16-166(F)....................................................................................... 10
Wyo. Const. art. VI, § 2 ............................................................................................... 1

Other Authorities

Building Confidence in U.S. Elections: Report of the Commission on Federal
  Election Reform,
  18 (Sept. 2005) at
  https://www.eac.gov/sites/default/files/eac_assets/1/6/Exhibit%20M.PDF........... 16
Jack Citrin, et al.,
  The Effects of Voter ID Notification on Voter Turnout: Results from a Large-Scale
  Field Experiment,
  13 Election L.J. 228, 238 (2014) ............................................................................. 15
Kyle Endres & Costa Panagopoulos,
  Photo Identification Laws and Perceptions of Electoral Fraud,
  8 Research & Politics 3 (2021) ............................................................................... 15
Ray Christensen & Thomas J. Schultz,
  Identifying Election Fraud Using Orphan and Low Propensity Voters,
  42 Am. Politics Research 311, 313 (2014) ............................................................. 13




                                                            iii
     Case 1:25-cv-00117-SWS        Document 89     Filed 07/03/25    Page 5 of 25




                                    INTRODUCTION

      Wyoming’s constitutional government—like that of virtually every State—is

constructed on the premise that only “citizen[s] of the United States” may participate

in its elections. Wyo. Const. art. VI, § 2. To ensure that this constitutional guarantee

is enforced in election administration, the Wyoming Legislature has required new

registrants to provide documentary proof of citizenship and afforded a range of means

(including a valid driver’s license, valid U.S. passport, or birth certificate) by which

they may do so. See 2025 Wyoming Laws ch. 172 (H.B. 156). Wyoming follows four

other States—Arizona, Kansas, Georgia, and Alabama—that have taken similar steps

to ensure that only United States citizens are registered to vote.

      Proclaiming Wyoming to be in a “crisis of democracy,” the Plaintiff asserts that

this modest measure—which simply extends to the voting context a commonsense

safeguard that already applies in numerous routine transactions, from boarding an

airplane to obtaining a driver’s license—will have a “devastating disenfranchising

effect.” Compl. ¶¶ 7, 9. Plaintiff now asks the Court to nullify a policy determination

that Wyoming’s elected representatives developed in a deliberative, democratic

process—in other words, to thwart democracy in the name of democracy.

      This provocative proposition, it turns out, teeters on an untenably brittle factual

foundation. Given the vehemence of Plaintiff’s rhetorical hyperventilation, the Court

might expect its motion for a preliminary injunction to be replete with the testimony

                                           1
     Case 1:25-cv-00117-SWS        Document 89     Filed 07/03/25   Page 6 of 25




of actual Wyomingites who could and would register to vote but for H.B. 156’s

mandate.

      Instead, the Plaintiff constructs its argument on an admixture of conclusory

characterizations, sweeping speculation, and demographic generalizations. But

supposition and conjecture cannot sustain a federal court’s invalidation of a duly

enacted state law, particularly in the realm of elections. As Tenth Circuit precedent

(on which Plaintiffs themselves rely) confirms, injunctions must be premised on

specific findings that a significant, quantifiable number of otherwise eligible citizens

have been disenfranchised, or at least significantly burdened, because of the

challenged law. See Fish v. Schwab, 957 F.3d 1105, 1130 (10th Cir. 2020). The

Plaintiff’s inability to muster such a showing defeats the motion. And even if the

Plaintiff could demonstrate an articulable “burden” resulting from H.B. 156, the

statute fits squarely within Wyoming’s recognized governmental interests in

preemptively insulating its electoral structures from unlawful votes by noncitizens and

fortifying public confidence in the outcomes they produce. Indeed, preserving the

integrity of elections is one of the most important obligations a constitutional republic

has to its citizens. Every vote cast by a noncitizen effectively cancels out a vote cast

by a United States citizen. See Hall v. Dist. of Columbia Bd. of Elections, -- F.4th -- ,

2025 WL 1717330, at *4 (D.C. Cir. Jun. 20, 2025) (recognizing that “granting the




                                           2
     Case 1:25-cv-00117-SWS        Document 89     Filed 07/03/25   Page 7 of 25




franchise to noncitizens will expand the . . . electorate and reduce the voting power of

each U.S. citizen voter.”).

      Finally, while Plaintiff is correct that Arizona’s first-in-the-nation documentary

proof of citizenship requirement is instructive, the analogy discredits—rather than

buttresses—the Plaintiff’s theory here. Notwithstanding Plaintiff’s and their expert’s

baffling assertion that the Arizona law was found to disenfranchise eligible citizens,

two different judges—in two different proceedings spanning nearly two decades—

found zero confirmed instances of known citizens being excluded from the voter rolls.

See Mi Familia Vota v. Fontes, 719 F. Supp. 3d 929, 1008 (D. Ariz. 2024) (finding,

after a nine-day trial, that “Plaintiffs offered no witness testimony or other ‘concrete

evidence’ to corroborate that the Voting Laws’ [documentary proof of citizenship]

Requirements will in fact impede any qualified voter from registering to vote or

staying on the voter rolls.”), aff’d in part, vacated in part on other grounds, 129 F.4th

691 (9th Cir. 2025);1 Gonzalez v. Arizona, 2006 WL 8431038, at *7 (D. Ariz. Oct. 12,

2006) (although plaintiffs had presented high-level evidence at preliminary injunction

stage that some eligible individuals may be affected by Arizona’s new proof of

citizenship and voter ID laws, “it is not clear what percentage of these individuals



1
  Although certain aspects of Arizona’s law were deemed preempted by the federal
National Voter Registration Act of 1993, 52 U.S.C. § 20501, et seq. (“NVRA”), as
applied to voting in elections for federal office, the Plaintiff acknowledges that the
relevant NVRA provisions do not apply to Wyoming.
                                           3
      Case 1:25-cv-00117-SWS       Document 89      Filed 07/03/25   Page 8 of 25




wish to vote but are actually unable to obtain identification”). While it is true that

approximately 19,000 registrants have not complied with Arizona’s proof of

citizenship requirement, no court ever purported to determine the citizenship status of

these individuals, and certainly never concluded that any of them are, in fact, United

States citizens.

      This Court should adopt the well-reasoned conclusion of its Arizona

counterpart and affirm that Wyoming’s “interests in preventing non-citizens from

voting and promoting public confidence in [its] elections outweighs the limited burden

voters might encounter when required to provide [documentary proof of citizenship].”

Mi Familia Vota, 719 F. Supp. 3d at 1011.

                           INTEREST OF THE AMICI STATES

      The Constitution entrusts to the States “broad power,” Wash. State Grange v.

Wash. State Republican Party, 552 U.S. 442, 451 (2008) (citation omitted), to

preemptively protect their electoral systems from fraud, illegal votes by ineligible

individuals, and other unlawful activity, “without waiting for it to occur and be

detected within [their] own borders.” Brnovich v. Democratic Nat’l Comm., 594 U.S.

647, 686 (2021); see also Burdick v. Takushi, 504 U.S. 428, 433 (1992) (recognizing

that state governments “must play an active role in structuring elections; ‘as a practical

matter, there must be a substantial regulation of elections if they are to be fair and




                                            4
     Case 1:25-cv-00117-SWS         Document 89   Filed 07/03/25   Page 9 of 25




honest and if some sort of order, rather than chaos, is to accompany the democratic

processes.”” (citation omitted)).

      Two foundational constitutional values undergird this allocation of authority.

The first is federalism—i.e., a recognition that each State is best positioned to craft

bespoke legislative solutions tailored to its particularized circumstances, exigencies,

and policy preferences. See generally Thompson v. DeWine, 959 F.3d 804, 812 (6th

Cir. 2020) (“[T]he federal Constitution provides States—not federal judges—the

ability to choose among many permissible options when designing elections. And

because that’s where the decision-making authority is, federal courts don’t lightly

tamper with election regulations.”); Election Integrity Project Cal., Inc. v. Weber, 113

F.4th 1072, 1091 (9th Cir. 2024) (“State-by-state and intra-state variation in the

administration of elections is a feature—not a bug—of our federal system.”). The

second is a recognition that legislatively-ordained policy directives are themselves

manifestations of a democratic process and hence carry their own democratic

legitimacy. See generally Vote.Org v. Callanen, 89 F.4th 459, 489 (5th Cir. 2023)

(“We must give weight to a state legislature’s judgment when it has created

‘evenhanded restrictions that protect the integrity and reliability of the electoral

process.’”). The upshot is that improvidently issued injunctions “barring the State

from conducting [its] elections pursuant to a statute enacted by the Legislature . . .

seriously and irreparably harm the State.” Abbott v. Perez, 585 U.S. 579, 602 (2018).

                                           5
     Case 1:25-cv-00117-SWS       Document 89      Filed 07/03/25   Page 10 of 25




      The Amici States are concerned that the injunction Plaintiff seeks would inflict

just such an improper incursion into States’ sovereign authority to corroborate and

enforce undisputedly valid voting qualifications, such as citizenship. Plaintiff frames

its voting rights claim under the “Anderson-Burdick balancing test”—which “weigh[s]

‘the character and magnitude of the asserted injury to the rights . . . that the plaintiff

seeks to vindicate’ against ‘the precise interests put forward by the State as

justifications for the burden imposed by its rule.’” Fish, 957 F.3d at 1122 (quoting

Burdick, 504 U.S. at 434)). But Plaintiff’s arguments misconceive both sides of the

Anderson-Burdick ledger—diluting the “burden” facet with generalizations and

hypotheticals, while discounting the States’ significant interest in proactively

preventing unlawful registrations by ineligible individuals. If adopted by the Court,

Plaintiff’s theory would improperly constrain States’ constitutional prerogative to

secure their elections.

                                      ARGUMENT

I.    There Is No Evidence That H.B. 156 Substantially Burdens Any Discrete
      Class of Eligible Voters

      Plaintiff has failed to demonstrate that H.B. 156 inflicts a significant (let alone

“severe”) burden on either eligible registrants as a whole or any identifiable segment

of prospective registrants. The amount of time it takes to retrieve one of any number

of documents that a prospective registrant possesses is usually negligible. The

Anderson-Burdick framework takes as its premise the reality that compliance with
                                            6
     Case 1:25-cv-00117-SWS       Document 89      Filed 07/03/25   Page 11 of 25




virtually any regulatory safeguard will demand some quantum time or effort by voters.

But such strictures become constitutionally suspect only if they “represent a

significant increase over the usual burdens of voting.” Crawford v. Marion Cnty.

Election Bd., 553 U.S. 181, 198 (2006) (plurality op.); see also Brnovich, 594 U.S. at

669 (recognizing in Voting Rights Act context that “voting necessarily requires some

effort and compliance with some rules” and that “[m]ere inconvenience cannot be

enough” to impugn a facially neutral statute’s validity). In offering eligible registrants

a broad menu of commonly held documents for corroborating their citizenship, H.B.

156 is, both conceptually and in its practical operation, substantively identical to voter

ID laws that Crawford and its progeny have almost uniformly sustained. See, e.g., Am.

Civil Liberties Union of N.M. v. Santillanes, 546 F.3d 1313 (10th Cir. 2008); Lee v.

Va. State Bd. of Elections, 843 F.3d 592, 606–07 (4th Cir. 2016); Frank v. Walker,

768 F.3d 744, 748 (7th Cir. 2014); Brakebill v. Jaeger, 932 F.3d 671, 679–80 (8th Cir.

2019).

      Indeed, Wyoming’s voting regime, which permits eligible individuals to

register to vote as late as Election Day itself, is in some respects more liberal than

those of other states. Although Plaintiff strains to recast this flexibility as an

encumbrance by conjuring a specter of long lines and confusion at polling places [Mot.

at 14], “[t]he specific burdens on voters who plan to register on election day are still

slight. With a little advanced planning, even a voter who lacks access to standard

                                            7
     Case 1:25-cv-00117-SWS       Document 89     Filed 07/03/25   Page 12 of 25




methods for proving [citizenship] can register to vote on election day.” One Wisconsin

Inst., Inc. v. Thomsen, 198 F. Supp. 3d 896, 936 (W.D. Wis. 2016), aff’d in relevant

part, vacated in part, rev’d in part sub nom. Luft v. Evers, 963 F.3d 665 (7th Cir.

2020) (evaluating proof of residence requirement).2

      Perhaps recognizing the dearth of credible evidence that H.B. 156 exerts

widespread burdens on unregistered but eligible individuals, Plaintiff leans heavily on

an alternative avenue to satisfy the first prong of Anderson-Burdick. As interpreted by

the Tenth Circuit, the Supreme Court’s framework permits challenges predicated on

alleged “burden[s] imposed on specific categories of voters.” Fish, 957 F.3d at 1126.

To that end, the Plaintiff rattles off a laundry list of sundry demographics and

population subsets—including “women,” “Hispanic citizens,” “young voters,”

“survivors of domestic violence and sexual assault,” “people who lack stable

housing,” “transgender citizens,” “adoptees,” and “people with certain disabilities”—

whom they allege would bear acute burdens in complying with H.B. 156. See Compl.

¶¶ 191–208, Mot. at 7–8, 15–16.

      This assertion dissipates under scrutiny. To begin with, the intuitive likelihood

that there exists some eligible individual, somewhere in Wyoming, who lacks ready



2
  In support of its insistence that “voters do not always receive notice that their
registration has been canceled” [Mot. at 7], Plaintiff cites a single second-hand
anecdote [Mot. Ex. 20, ¶ 12]. It makes no attempt to argue that undisclosed registration
cancellations occur on a significant scale or are countenanced by Wyoming law.
                                           8
     Case 1:25-cv-00117-SWS       Document 89      Filed 07/03/25   Page 13 of 25




access to proof of citizenship does not evince a constitutionally cognizable “burden.”

See Crawford, 553 U.S. at 199–200 (that a “burden may not be justified as to a few

voters” does not establish a statute’s facial invalidity); One Wisconsin, 198 F. Supp.

3d at 935 (“anecdotal evidence” is insufficient to establish a severe burden); League

of Women Voters of Fla., Inc. v. Fla. Sec’y of State, 716 F. Supp. 3d 1236, 1243 (N.D.

Fla. 2024) (rejecting argument that the court “should focus only on the severity of the

burden imposed upon the specific voters who face the highest burden based on their

own unique set of circumstances. If that were the law, then individual voters would

be able to invalidate reasonable voting laws based solely on their unique

circumstances.”).

      Rather, even plaintiffs who frame their Anderson-Burdick claims by reference

to certain classes of voters still must adduce a significant, quantifiable number of

identifiable individuals who wish to but are unable to register to vote because of the

challenged law. See Fish, 957 F.3d at 1127 (concluding a significant burden existed

because the district court had found “that 31,089 applicants were prevented from

registering to vote because of the [proof of citizenship] requirement”); Santillanes,

546 F.3d at 1323 (isolated instances of potential disenfranchisement that “arise out of

‘life’s vagaries’ . . . do not amount to a substantial burden on a person’s right to vote”

(citation omitted)). Even putting aside questions of causation (which remain a gaping

evidentiary gap in its claim), Plaintiff seemingly is unable to posit how many eligible

                                            9
     Case 1:25-cv-00117-SWS        Document 89     Filed 07/03/25   Page 14 of 25




and unregistered Wyomingites actually lack any compliant documentary proof of

citizenship in the first place.3

       Perhaps most revealingly, the Plaintiff—which purports to represent and work

closely with allegedly affected communities—is unable to muster even a single

affidavit or declaration by an actual, real-life individual who is eligible and wishes to

become a Wyoming voter but cannot feasibly prove his or her citizenship. This

conspicuous omission itself should extinguish the claim. See Santillanes, 546 F.3d

1319 (noting that “Plaintiffs cannot identify a single individual who would not vote .

. . because of the [photo ID] measure.”); Billups, 554 F.3d at 1354 (“[T]he inability to

locate a single voter who would bear a significant burden ‘provides significant support

for a conclusion that the Photo ID requirement does not unduly burden the right to

vote.’” (citation omitted)); Ind. Democratic Party v. Rokita, 458 F. Supp. 2d 775, 822–

23 (S.D. Ind. 2006) (“Despite apocalyptic assertions of wholesale voter

disenfranchisement, Plaintiffs have produced not a single piece of evidence of any

identifiable registered voter who would be prevented from voting pursuant to [the




3
 Dr. Mayer’s declaration (at ¶ 16) cites a 2016 survey that “estimated” that “nearly
6% [of registered voters in Wyoming] lacked both a passport and a birth certificate.”
But passports and birth certificates are not the only permissible methods of proving
citizenship under H.B. 156. See Common Cause/Georgia v. Billups, 554 F.3d 1340,
1354 (11th Cir. 2009) (pointing out that plaintiffs’ data “fail to account for other forms
of [voter] identification that are acceptable under the statute”).
                                            10
     Case 1:25-cv-00117-SWS       Document 89      Filed 07/03/25   Page 15 of 25




challenged law] because of his or her inability to obtain the necessary photo

identification.”), aff’d sub nom. Crawford, 553 U.S. 181.

      The long-running litigation engulfing Arizona’s proof of citizenship

requirement illuminates the flaws in the Plaintiff’s theory of “burden.” In 2004, the

Arizona electorate approved a statute requiring all new registrants to provide

documentary proof of citizenship as a condition of registering to vote. See Ariz. Rev.

Stat. § 16-166(F). The specific part of the Arizona law dealing with applicants using

the then non-conforming federal form was deemed preempted by the NVRA as

applied to voting in federal elections until the Arizona instructions on the federal form

could be changed accordingly. See Arizona v. Inter Tribal Council of Ariz., Inc., 570

U.S. 1 (2013); Mi Familia Vota v. Fontes, 129 F.4th 691 (9th Cir. 2025). But no court

has ever found that the statute unconstitutionally burdens voting rights, and it remains

an enforceable (and enforced) prerequisite to voting in Arizona state and local

elections.

      That is not, however, for lack of trying by a litany of political and nonprofit

groups not unlike the Plaintiff here. Shortly after the law’s adoption, a federal district

court refused a request to enjoin it, finding scant evidence that it was obstructing any

otherwise eligible registrants. See Gonzalez, 2006 WL 8431038, at *7, aff’d, 485 F.3d

1041, 1050 (9th Cir. 2007) (declarations averring that obtaining required




                                           11
     Case 1:25-cv-00117-SWS        Document 89      Filed 07/03/25    Page 16 of 25




documentation would be a “burden” were insufficient).4 Other plaintiffs fared no

better during a second round of litigation in 2023. Despite nearly 18 years’ worth of

data at their disposal and a nine-day trial in which to prove their claims, the plaintiffs

were unable to identify even a single individual who was disenfranchised by the proof

of citizenship law. Rejecting the plaintiffs’ Anderson-Burdick claim, the district court

pointedly found that they had been “unable to provide evidence quantifying the

number of Arizonans qualified to vote that may be unable to provide any form of

[proof of citizenship] or that have been or will be deterred from registering to vote

because of” that requirement. Mi Familia Vota, 719 F. Supp. 3d at 1003.

      It is true that (at the time of the decision in Mi Familia Vota) approximately

19,000 Arizona registrants had not supplied proof of citizenship and thus were

ineligible to vote in state or local elections. Plaintiff states that these individuals were

“disproportionately minorities” and imply that they were wrongfully excluded from

the voter rolls. Dr. Mayer’s declaration exhibits an even greater liberality with the

record in Mi Familia Vota and expressly asserts (at ¶ 31) that the Arizona statistic

“show[s] clearly that the [proof of citizenship] requirements prevented eligible

citizens from voting.”



4
 After “significant discovery and motions practice extending over a year and a half,”
the Gonzalez plaintiffs were eventually able to locate exactly one individual who may
have met the criteria. Gonzalez v. Arizona, 2008 WL 11395512, at *1, *17 (D. Ariz.
Aug. 20, 2008).
                                          12
     Case 1:25-cv-00117-SWS        Document 89     Filed 07/03/25    Page 17 of 25




      That is simply inaccurate. While the Mi Familia Vota court noted that Arizona’s

so-called “federal only” voters were not affirmatively proved to be non-citizens, see

719 F. Supp. 3d at 1011, it also never purported to find that any or all of them were,

in fact, U.S. citizens, and certainly never found that these individuals were unable to

comply with the law. To the contrary, it pointed out that the plaintiffs “have not

estimated the number of these voters that wholly lack” proof of citizenship, adding

that “even assuming some Federal-Only Voters do not possess [proof of citizenship],

the evidence does not reliably illustrate the likelihood that voters will encounter

obstacles to obtaining this information.” Id. at 1008. The court also found the

allegations of impermissible disparate impact unpersuasive, concluding instead that

any racial discrepancies in compliance rates were “small in absolute terms,” id. at

1016 (quoting Brnovich, 594 U.S. at 680), and citing an absence of “quantifiable

evidence regarding the rate at which minority voters both lack and are unable to

afford” documentary proof of citizenship. Id. at 1017.

      The Arizona proceedings aptly underscore the factual deficiencies that

debilitate Plaintiff’s request for a preliminary injunction. At bottom, Plaintiff’s factual

record relies on a smattering of anecdotes conjoined with generic characterizations of

various groups to serve as a springboard for the haphazard inferential leap that H.B.

156 will proximately cause the disenfranchisement of a significant (yet notably

unspecified) number of otherwise eligible Wyoming residents who wish to vote. As

                                            13
      Case 1:25-cv-00117-SWS       Document 89     Filed 07/03/25    Page 18 of 25




Crawford and Schwab teach, that kind of evidentiary alchemy does not enable a court

to find a constitutionally significant “burden” under Anderson-Burdick.

II.    H.B. 156 Advances Vital State Interests in Preventing Unlawful Voting and
       Fortifying Public Confidence in Elections

       Plaintiff’s motion also adopts an artificially constricted conception of States’

vital interests in preventing fraud, preventing other forms of unlawful voting, and

preserving voter confidence in the integrity of elections. Plaintiff harps on the paucity

of documented voter fraud, illegal noncitizen voting, or similar wrongdoing in recent

Wyoming elections. That argument, though, elides at least three distinctions.

       First, both courts and experts have acknowledged that election crimes evade

easy detection, and reported rates hence do not necessarily reflect actual incidence.

Stated another way, the absence of evidence is not always evidence of absence. See

Mi Familia Vota, 719 F. Supp. 3d at 966 (noting that even plaintiffs’ expert witness

had agreed “that voter fraud can be difficult to detect”); Ray Christensen & Thomas

J. Schultz, Identifying Election Fraud Using Orphan and Low Propensity Voters, 42

AM. POLITICS RESEARCH 311, 313 (2014) (“The difficulties in discovery or measuring

electoral fraud are well known.”). Voting by noncitizens is a paradigmatic example of

this. It is exceedingly difficult to identify someone as a noncitizen once they are on

the voter rolls. And no proof-of-citizenship process occurs at the time of voting. So

once a noncitizen successfully registers to vote, he will in all likelihood be able to vote

illegally for the rest of his life without the crime ever being detected.
                                            14
     Case 1:25-cv-00117-SWS        Document 89      Filed 07/03/25    Page 19 of 25




       Second, the lexicon of voter “fraud” obscures that unintentional violations—for

example, a registration form signed by a longtime permanent resident who

subjectively but mistakenly believes she is a naturalized citizen—also corrode election

security, even though they may not be investigated, charged or prosecuted as voter

“fraud” or a similar offense. See Mi Familia Vota, 719 F. Supp. 3d at 1011 (“The

State’s interests in preventing voter fraud and unintentional non-citizen voting are

both legitimate, as both forms of non-citizen voting can undermine the integrity of

Arizona’s elections.”). An even more common form of unintentional registration by

noncitizens occurs regularly at DMVs, when they are asked at the end of the driver’s

license application process if they would like to register to vote. Some assume that

because a government official is offering them the opportunity to register, it must be

permissible to do so. Requiring that paper representations of one’s qualifications be

corroborated with common forms of documentary proof necessarily curtails the risk

of good faith, but still illicit, registration and voting by ineligible individuals.

       Third, the Supreme Court has explicitly cautioned that the magnitude of a

State’s interest in policing election-related wrongdoing is not denoted by the

prevalence of extant fraud. To the contrary, “it should go without saying that a State

may take action to prevent election fraud without waiting for it to occur and be

detected within its own borders.” Brnovich, 594 U.S. at 686; see also Santillanes, 546

F.3d at 1323 (holding in voter ID context that “[i]n requiring the City to present

                                             15
     Case 1:25-cv-00117-SWS       Document 89     Filed 07/03/25    Page 20 of 25




evidence of past instances of voting fraud, the district court imposed too high a burden

on the City”); Greater Birmingham Ministries v. Sec’y of State for the State of Ala.,

992 F.3d 1299, 1334 (11th Cir. 2021) (noting that “deterring voter fraud is a legitimate

policy on which to enact an election law, even in the absence of any record evidence

of voter fraud”). Although H.B. 156 may not be fail-safe in preventing non-citizen

registrations, it need not be precisely aligned to the contours of the problem it

addresses. See Dudum v. Arntz, 640 F.3d 1098, 1114 (9th Cir. 2011) (in the absence

of a “severe” burden on voting rights, the government “is not required to show that its

system is narrowly tailored—that is, is the best one to achieve its purposes”).

      In addition, the States’ interest in constructing guardrails around election

processes transcends such laws’ deterrent capabilities. The Supreme Court has

expressly recognized public confidence in elections as a freestanding governmental

interest that is independent of (albeit related to) the regulatory objective of deterring

and detecting actual fraud. See Crawford, 553 U.S. at 197. And political science

research fortifies this commonsense observation with empirical support. A 2017 study

sought to examine the effects of voter ID laws by sending randomly selected Virginia

residents’ informational postcards. The researchers concluded that educating

registrants on the state’s photo ID requirements “likely reduced perceptions of

electoral fraud.” Kyle Endres & Costas Panagopoulos, Photo Identification Laws and

Perceptions of Electoral Fraud, 8 RESEARCH & POLITICS 3 (2021), available at

                                           16
     Case 1:25-cv-00117-SWS          Document 89      Filed 07/03/25   Page 21 of 25




https://tinyurl.com/27wkzfhs. Another study found that awareness of voter ID laws

does not deter electoral participation and may actually encourage it. See Jack Citrin,

et al., The Effects of Voter ID Notification on Voter Turnout: Results from a Large-

Scale Field Experiment, 13 ELECTION L. J. 228, 238 (2014) (noting that it is “possible

that notification of voter ID laws elevated turnout by bolstering confidence in the

integrity of the electoral system”)       ; see also Building Confidence in U.S. Elections:

Report of the Commission on Federal Election Reform at 18 (Sept. 2005) (“The

electoral system cannot inspire public confidence if no safeguards exist to deter or

detect     fraud   or   to      confirm   the    identity   of   voters.”),   available   at

https://www.eac.gov/sites/default/files/eac_assets/1/6/Exhibit%20M.PDF.

         To be sure, the constitutional bona fides of any given election integrity law do

not pivot on its capacity to induce quantitively observable effects on public sentiment.

See Timmons v. Twin Cities Area New Party, 520 U.S. 351, 364 (1997) (courts do not

“require elaborate, empirical verification of the weightiness of the State’s asserted

justifications” for neutral voting laws). But the intuitively and factually sound maxim

that “public confidence in the integrity of the electoral process . . . encourages citizen

participation in the democratic process,” Crawford, 553 U.S. at 197, and thus is

intrinsically an important State interest, must underpin the Court’s assessment of

Wyoming’s neutral and commonsense measure to ensure that only U.S. citizens can

participate in its elections.

                                                17
     Case 1:25-cv-00117-SWS    Document 89     Filed 07/03/25   Page 22 of 25




                                  CONCLUSION

      For the foregoing reasons, the Court should deny the Plaintiff’s Motion for a

Preliminary Injunction.


Dated: June 27, 2025                      Respectfully submitted,

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                                        18
Case 1:25-cv-00117-SWS    Document 89   Filed 07/03/25   Page 23 of 25




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Case 1:25-cv-00117-SWS     Document 89   Filed 07/03/25   Page 24 of 25




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     Case 1:25-cv-00117-SWS        Document 89   Filed 07/03/25     Page 25 of 25




                        CERTIFICATE OF COMPLIANCE


         This brief complies with Wyoming Local Civil Rule 7.1(B) because it contains

18 pages, not including the cover page, table of contents, signature block, certificate

of service and this certificate.



                                              /s/ John G. Knepper



                            CERTIFICATE OF SERVICE


         I hereby certify that on this 27th day of June, 2025, I caused the foregoing

document to be electronically transmitted to the Clerk’s Office using the CM/ECF

System for Filing, which will send notice of such filing to all registered CM/ECF

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                                              /s/ John G. Knepper
